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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JILL STEIN, et al.,                              :
                       Plaintiffs,               :
           v.                                    :     Civ. No. 16-6287
                                                 :
KATHY BOOCKVAR,                                  :
in her official capacity as Secretary of the     :
Commonwealth of Pennsylvania, et al.,            :
                       Defendants.               :
                                                 :

                                               ORDER

       AND NOW, this 20th day of March, upon consideration of Plaintiffs’ Letter Request (Doc.

No. 183) to strike Amicus Curiae ES&S’s Proposed Findings of Fact (Doc. No. 181) and all related

submissions (Doc. Nos. 184 & 185), it is hereby ORDERED that Plaintiffs’ Request is

GRANTED. Amicus Curiae’s Proposed Findings of Fact (Doc. No. 181) are STRICKEN.


                                                           AND IT IS SO ORDERED.

                                                           /s/ Paul S. Diamond
                                                           _________________________
                                                           Paul S. Diamond, J.
